Case 22-10038-RG             Doc 25     Filed 03/01/22 Entered 03/01/22 23:33:48                  Desc Main
                                        Document      Page 1 of 3

 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)




                                                                  Case No.:         ____________________
 In Re:
                                                                  Chapter:          ____________________

                                                                  Judge:            ____________________



                NOTICE OF REQUEST FOR LOSS MITIGATION – BY THE DEBTOR


          I am/ We are the debtor(s) in this case and hereby request loss mitigation with respect to:

Property address:
__________________________________________________________________________

Creditor is the holder of:     first mortgage       second mortgage          third mortgage.

          I/We will make adequate protection payments to the above creditor each month in the following
amount during the loss mitigation period: See Loss Mitigation Program and Procedures, Section VII.B.

Creditor _____________________________ Amount: $ ______________Due date: _______________

          I/We request to be excused from using the Loss Mitigation Portal due to undue hardship as set
forth in detail below:




          I understand that if the court orders loss mitigation in this case I am required to comply with the
Loss Mitigation Program and Procedures and will participate in good faith. I understand that Loss
Mitigation is voluntary, and that I am not required to enter into any agreement or settlement with any other
party as part of this Loss Mitigation, and understand that no other party is required to enter into any
agreement or settlement with me. I also understand that I am not required to request dismissal of this
case as part of any resolution or settlement that is offered or agreed to during the Loss Mitigation Period.
Case 22-10038-RG          Doc 25     Filed 03/01/22 Entered 03/01/22 23:33:48               Desc Main
                                     Document      Page 2 of 3

I also certify that the property in question consists only of real property in which I hold a titled
interest.

Date: ______________________                            __________________________________
                                                        Debtor

Date: ______________________                            __________________________________
                                                        Joint Debtor (if any)


Debtor Information:

Print full name: ____________________________________________________________________

Mailing address: ___________________________________________________________________

Telephone number: _________________________________________________________________

Email address (if any): _______________________________________________________________


Debtor’s Attorney Information:

Name: ___________________________________________________________________________

Address: __________________________________________________________________________

Telephone number: _________________________ Fax number: _____________________________

Email address (if any): _______________________________________________________________


Creditor Information: (if known)

Name: ___________________________________________________________________________

Address: __________________________________________________________________________

Telephone number: _________________________ Fax number: _____________________________

Email address (if any): _______________________________________________________________


Creditor’s Attorney Information: (if known)

Name: ___________________________________________________________________________

Address: __________________________________________________________________________

Telephone number: _________________________ Fax number______________________________

Email address (if any): _______________________________________________________________




                                                    2
Case 22-10038-RG         Doc 25     Filed 03/01/22 Entered 03/01/22 23:33:48               Desc Main
                                    Document      Page 3 of 3

Under Section V. of the Loss Mitigation Program and Procedures, a party has 14 days from the filed
date of this Request to file with the court, and serve on the debtor, debtor’s attorney trustee, and
U.S. trustee, an objection to this Request.




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